Case 2:21-mj-13032-LDW Document3 Filed 07/12/22 Page 1 of1 PagelD: 7

AQ 442 (Rev 1i/t1) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

District of New Jersey

United States of America

Vv. )
j Case No, 21-MJ-13032

)

)

HASSAN CRAWFORD

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
fname of person to be arrested) HASSAN CRAWFORD

who is accused of an offense or violation based on the fellowing doc ument filed with the court:

TV Indictment “1 Superseding Indictment “I Information “T Superseding Information # Complaint

A Probation Violation Petition 7 Supervised Release Violation Petition f} Violation Notice 7 Order of the Court

This offense is briefly described as follows:

Possession of a Firearm and Ammunition by a Convicted Felon, in violation of 18 U.S.C. § 922(g)(1)

rece RE,
JAN 27 2024 Lada Dunn Uittin oe Us,

[syuing officer's signature

Date: 01/27/2021 __ Us,
City and state: Newark,NJ 0 | WReTp _ Hon. Leda Dunn Wettre, USMJ

Printed name and title

 

Return

This warrant w as rece “S 7 (cytes ro _. _ .and the person was arrested on (dates Yl9 R/ 24.

al (city and state} Than xt lI PH, ¢ Me coh
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Date: d| 29/2 _
Arresting officer's signature

 

Printed name anid title

 

 

 
